                                                              Case 2:15-cv-07158-GW-FFM Document 21 Filed 01/26/16 Page 1 of 4 Page ID #:342



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                                                                    7
                                                                                           UNITED STATES DISTRICT COURT
                                                                    8
                                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                    9

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                                                                        JUKIN MEDIA, INC., a California            CASE NO. 15-CV-7158-GW-FFM
                                                                   11   corporation,
                                                                                                                   Hon. George H. Wu
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                   12                          Plaintiff,
                    LOS ANG ELES, CA 90067




                                                                   13                    v.                        JOINT STATUS REPORT
VENABLE LLP

                                                    310-229-9900




                                                                                                                   PURSUANT TO THE COURT’S
                                                                   14   ZOOMIN.TV, a Dutch company,                MINUTES OF DEFENDANT
                                                                                                                   ZOOMIN.TV’S MOTION TO
                                                                   15                          Defendant.          DISMISS AND REQUEST FOR
                                                                                                                   CONTINUANCE
                                                                   16
                                                                                                                   Current Hearing Date:
                                                                   17                                              Date:      January 28, 2016
                                                                   18
                                                                                                                   Time:       8:30 a.m.
                                                                                                                   Location: Courtroom 10
                                                                   19
                                                                                                                   Plaintiff’s Proposed Hearing Date:
                                                                   20                                              Date:         March 21, 2016
                                                                                                                   Time:         8:30 a.m.
                                                                   21                                              Location: Courtroom 10
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                                                                    1         Plaintiff Jukin Media, Inc. and Defendant Zoomin.TV pursuant to the
                                                                    2   Court’s direction in the minutes from the hearing on Defendant Zoomin.TV’s
                                                                    3   Motion to Dismiss hereby respectfully submit this joint status report.
                                                                    4         On November 16, 2015, Defendant Zoomin.TV (“Defendant”) filed a
                                                                    5   Motion to Dismiss (“Motion”). Dkt. 12. Plaintiff Jukin Media, Inc. filed an
                                                                    6   opposition to Defendant’s Motion on November 23, 2015. Dkt. 17. On December
                                                                    7   21, 2015, the Court continued the hearing on Defendant’s Motion to January 28,
                                                                    8   2016, and directed the parties to try to resolve the case. Dkt. 20.
                                                                    9         Plaintiff’s Position
                                                                   10         Pursuant to the Court’s direction, counsel for the parties discussed a
                                                                   11   potential resolution of this matter and whether mediation would be helpful.
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                   12   Counsel agreed to mediation and Defendant’s counsel proposed Louis Meisinger
                    LOS ANG ELES, CA 90067




                                                                   13   as the mediator. Plaintiff contacted Mr. Meisinger for his availability and
VENABLE LLP

                                                    310-229-9900




                                                                   14   confirmed that he was not available until the week of March 7, 2016. Plaintiff’s
                                                                   15   counsel confirmed Defendant’s counsel and Plaintiff are available on March 10th
                                                                   16   for mediation and accordingly reserved March 10th with Mr. Meisinger. Plaintiff
                                                                   17   requests that the Court continue the hearing on Defendant’s motion to dismiss,
                                                                   18   which is currently set for January 28, 2016, at 8:30 a.m., to March 21, 2016, so the
                                                                   19   parties can mediate and try to resolve this matter before the Court enters an order
                                                                   20   on the motion.
                                                                   21         Plaintiff has always been willing to resolve this matter and tried numerous
                                                                   22   times to discuss a resolution before filing the lawsuit. Defendant continuously
                                                                   23   refused to discuss past infringements, like those in the litigation, or discuss a good
                                                                   24   faith resolution. After filing the litigation, Plaintiff again tried to discuss a
                                                                   25   resolution with Defendant, but Defendant refused to discuss payment for past
                                                                   26   infringements or any other compromise in this matter. Plaintiff also tried to
                                                                   27   resolve this matter after the Court directed the parties to discuss resolution, but
                                                                   28   Defendant again refused to discuss a compromise in good faith. Based on this past
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                                                                                                                                             JOINT STATUS REPORT
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                                                                    1   experience, Plaintiff does not believe Defendant will mediate or act in good faith to
                                                                    2   resolve this case if the Court does not maintain jurisdiction over this matter.
                                                                    3         Defendant’s Position
                                                                    4         When the case was filed, Plaintiff was only willing to mediate on conditions
                                                                    5   which were considered unreasonable and thus, unacceptable to Defendant. After
                                                                    6   the last hearing, Defendant had settlement discussions with Plaintiff’s in-house
                                                                    7   counsel which were unproductive. The approach Plaintiff took, in the period
                                                                    8   leading up to these proceedings, and the position Plaintiff took, after the last
                                                                    9   hearing, have led Defendant to believe that Plaintiff is not sufficiently motivated to
                                                                   10   discuss and settle this matter in good faith in the absence of a Court ruling
                                                                   11   incentivizing Plaintiff to take a reasonable position towards mediation. Defendant
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                   12   is still willing to mediate but believes, given the circumstances, that a reasonable
                    LOS ANG ELES, CA 90067




                                                                   13   settlement will be best achieved if the Court first rules on the Motion and then,
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                                                    310-229-9900




                                                                   14   Defendant and Plaintiff will mediate. Consequently, Defendant wishes the Court
                                                                   15   to rule on the Motion. Defendant thereafter commits to engage in mediation and
                                                                   16   believes it can mediate with Judge Louis M. Meisinger on March 10, 2016.
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                                                                    2   Dated: January 26 , 2016         VENABLE LLP
                                                                    3
                                                                                                         By: /s/Tamany Vinson Bentz
                                                                    4                                       Douglas C. Emhoff
                                                                                                            Tamany Vinson Bentz
                                                                    5
                                                                                                            Schuyler B. Sorosky
                                                                    6                                       Attorneys for Plaintiff Jukin Media,
                                                                    7
                                                                                                            Inc.

                                                                    8
                                                                        Dated: January 26, 2016          JOHNSON & JOHNSON LLP
                                                                    9

                                                                   10                                    By: /s/ Neville L. Johnson
                                                                                                            Neville L. Johnson
                                                                   11                                       Douglas L. Johnson
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                   12                                       James T. Ryan
                                                                                                            Jennifer Y. Ro
                    LOS ANG ELES, CA 90067




                                                                   13
VENABLE LLP




                                                                                                            Attorneys for Defendant Zoomin.TV
                                                    310-229-9900




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